                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


  ERIK COOPER                                   )
                                                )       No. 3:22-cv-00124-DCLC-JEM
         Plaintiff,                             )
                                                )
  v.                                            )
                                                )
  BLUM COLLINS, LLP,                            )
  STEVEN AARON BLUM, and                        )
  CRAIG MICHAEL COLLINS,                        )
                                                )
         Defendants.                            )


          MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS OF
                             DEFENDANTS

         Defendants Blum Collins, LLP, Steven Aaron Blum, and Craig Michael Collins

  (collectively “Defendants”), by and through counsel, pursuant to Rules 12(b)(1)-(3) and (5) of

  the Federal Rules of Civil Procedure, submits their Memorandum of Law in Support of Motion

  to Dismiss of Defendants. 1

         I.      INTRODUCTION
         Plaintiff Erik Cooper (“Plaintiff”) filed this diversity jurisdiction lawsuit for breach of

  contract and various torts against the Defendants on April 11, 2022. Defendants specially appear

  in this matter to move to dismiss this case for lack of personal jurisdiction under Fed. R. Civ. P.

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           Plaintiff’s attempts to default the Defendants are without merit and will be addressed by
  separate response in opposition. In short, Plaintiff claims to have effected service on April
  26. This is false. As shown in the response in opposition to be filed after this first responsive
  pleading, the time period for filing this Motion has not expired. Defendants’ responsive pleading
  would not be due at the earliest until May 27 assuming service was somehow proper under Cal.
  Code Civ. Pro. § 415.20(b) which adds 10 days to any service by mail. They have chosen to
  file early to respond to Cooper’s misstatement of the law.




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  12(b)(2), or alternatively, lack of subject matter jurisdiction, improper venue, and insufficient

  service of process under Fed. R. Civ. P. 12(b)(1), (3) and (5), (g), and (h)(1). See Blessing v.

  Chandrasekhar, 988 F.3d 889, 898 (6th Cir. 2021) (“Rule 12 . . . states that a defendant must

  raise the defenses of lack of personal jurisdiction, improper venue, improper process, and

  improper service of process in a pre-answer motion or answer, whichever is filed first, or the

  defense is waived,” citing Fed. R. Civ. P. 12(h)).2

         After being ordered by a California state court of competent jurisdiction (in a case that

  Plaintiff Cooper filed there) in a final judgment to arbitrate his disputes with the Defendants, and

  arbitrating and losing, Plaintiff Erik Cooper sues again in this court asserting claims now barred

  by res judicata and claim preclusion. He does so against Defendants over whom this Court lacks

  personal jurisdiction.

         Plaintiff Cooper cannot establish personal jurisdiction over Defendants in Tennessee.

  Defendants have insufficient contacts in Tennessee for in personam jurisdiction, and thus

  Defendants deserve to have this case in Tennessee dismissed for lack of personal jurisdiction.

         Plaintiff Cooper also cannot establish subject-matter jurisdiction for two reasons. First,

  Plaintiff has filed multiple declarations under oath swearing he is a resident of California, as are

  Defendants, so there is no diversity jurisdiction. Second, there is no dollar amount in controversy

  between the parties that exceeds the jurisdictional minimum. The arbitrator ruled that Defendants

  owe Plaintiff nothing, but Plaintiff owes Defendants about $33,000.




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         Fed. R. Civ. P. 12(b) states:

         Every defense to a claim for relief in any pleading must be asserted in the
         responsive pleading if one is required. But a party may assert the following
         defenses by motion:
         (1) lack of subject-matter jurisdiction;
         (2) lack of personal jurisdiction;
         (3) improper venue . . .



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         Finally, assuming hypothetically that personal jurisdiction and subject-matter jurisdiction

  existed, and even if there were something to litigate on the merits,3 Tennessee is an improper

  venue because:

               •   all the evidence and witnesses in this proceeding are in Los Angeles County,

                   California – including Plaintiff Cooper, who resides there;

               •   the parties agreed when they signed an agreement in California that California law

                   would govern their dispute; and

               •   Plaintiff Cooper initiated a state court lawsuit in California that led to him being

                   ordered to arbitrate his disputes with Defendants (which Plaintiff Cooper did

                   unsuccessfully). The judgment in Plaintiff Cooper’s California state court lawsuit

                   is now final and unappealable.

         II.       FACTUAL AND PROCEDURAL BACKGROUND
                   A. Defendants Reside and Do Business in California

         Defendants are two attorneys who are California residents and their small law firm in Los

  Angeles, California. Declaration of Steven A. Blum (“Decl. Blum”) (attached hereto as Exhibit

  1), ¶ 1, Declaration of Craig M. Collins (“Decl. Collins”), ¶ 1 (attached hereto as Exhibit 2).

  Defendants live in California. They do not reside in Tennessee. They have never resided in
  Tennessee. Decl. Blum, ¶ 2, Decl. Collins, ¶ 2. They do not conduct business in Tennessee or
  own material assets in Tennessee, and never have. Decl. Blum, ¶¶ 4, 6, Decl. Collins, ¶¶ 4, 6.

  Neither has ever been admitted to practice law in Tennessee, and no member or lawyer at their

  small Los Angeles law firm has been admitted to practice law in Tennessee. Decl. Blum, ¶¶ 4-6,

  Decl. Collins, ¶¶ 4-6. They do business in California, where both individuals are admitted to

  practice by the California State Bar. Defendants Blum and Collins, and their law firm Blum

  Collins LLP, have practiced law exclusively in California since 2004. Their practice focuses


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         There is nothing to litigate on the merits because this dispute was already subject to a
  binding arbitration pursuant to the agreement between the parties, see Decl. Blum, Decl. Collins,
  ¶¶ 16-19, 22-23, Exhs. E, F.

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  largely on real estate litigation in California courts on behalf of California clients. Decl. Blum,

  ¶¶ 4-7, Decl. Collins, ¶¶ 4-7.

                 B. The Woolsey Fire in Southern California

         In November 2018, a large fire known as the Woolsey Fire raged through the Malibu area

  of Los Angeles County, California, destroying over 1,000 homes. Decl. Blum, Decl. Collins,

  ¶ 8. Defendants sought to publicize and market their legal services to the many individuals in

  California who had lost homes. Decl. Blum, Decl. Collins, ¶¶ 8-9.

                 C. Defendants’ Prior Interactions with Plaintiff (All in California)

         At a dinner in a Los Angeles restaurant with a nonlawyer business acquaintance assisting

  Malibu fire victims with insurance claims adjustment, the acquaintance described Plaintiff

  Cooper’s background and recommended that Defendants hire Plaintiff Cooper as a potential

  marketing consultant in connection with the Woolsey Fire case. Defendants were told that

  Plaintiff Cooper had some marketing experience that would relate to assisting Defendants in Los

  Angeles County. 4
         Plaintiff Cooper met with Defendants in their Los Angeles office. Decl. Blum, Decl.

  Collins, ¶¶ 9-10. Plaintiff informed Defendants he had a Beverly Hills office, Decl. Blum, Decl.

  Collins, ¶ 11, and he provided them with a written proposal/agreement to govern their

  interactions, which provided that it was “subject to the laws of the State of California,” and that

  “Any disputes arising out of this Agreement between the parties will be resolved through binding

  arbitration with the American Arbitration Association in Los Angeles County, California, using a

  single arbitrator.” Decl. Blum, Decl. Collins, ¶¶ 11-12 & Exhibit (“Exh.”) A (Addendum, ¶¶ 5,

  7). The agreement was for the period from January 1, 2019 to June 30, 2019.

         Plaintiff Cooper signed the agreement first and sent it to Defendants. Defendants Blum

  and Collins signed this agreement in Los Angeles. Decl. Blum, Decl. Collins, ¶ 13. In signing

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           Plaintiff Cooper is an individual. There is no legal entity known as Acuity Consulting
  Services. As Cooper himself has pointed out, he “…is an individual who operates a sole
  proprietorship business, ACUITY CONSULTING SERVICES (“Acuity”).” Decl. Blum, Exh. G
  at 3, ¶ 12.

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  this agreement, Defendants contemplated that Plaintiff Cooper would arrange and advertise

  public information seminars in Los Angeles County to educate fire victims of their legal rights.

  State fire authorities soon launched an investigation into the cause of the wildfire, and

  Defendants Blum and Collins (and other lawyers) soon suspected that the electrical utility

  company (i.e., Southern California Edison) sparked the fire that caused over 1,000 homes to be

  lost. This meant that a short statute of limitations governed, creating an urgent situation where

  over 1,000 families—all of whom were preoccupied with rebuilding, relocating, etc.—had to be

  informed that they had a possible legal claim, that the time to sue was expiring, and that they had

  better interview lawyers and hire the best ones to represent them. For lawyers willing to help

  these fire victims, communicating with them was made difficult by the fact that many fire

  victims had moved elsewhere out of necessity and there was no way to deliver mail to their now

  nonexistent or severely damaged homes. Multi-media communication and in-person seminars

  were necessary, and Plaintiff Cooper was recommended to Defendants, by someone whom

  Defendants trusted, as a person who could assist Defendants in doing so. Decl. Blum, Decl.

  Collins, ¶ 9.

            This recommendation was a poor one. Instead, as both Defendants Collins and Blum

  attest,

            Shortly after we engaged Mr. Cooper, we realized it was a mistake. He was
            incapable of assisting us in any meaningful way. . . . Although Mr. Cooper did
            little or no work for us, he tried to extract over $700,000.00 from us in exchange
            for promising not to spread false and defamatory statements about us to the court
            in California and our peers. We refused to pay.
  Decl. Blum, Decl. Collins, ¶ 15.

            To establish that Plaintiff Cooper was not owed anything, in November 2020, Defendants

  initiated arbitration in Los Angeles County, California with the American Arbitration

  Association under the written Agreement which contained the binding arbitration clause. Decl.

  Blum, ¶ 16 & Exh. B.

            Plaintiff Cooper’s first bite at the apple: Plaintiff Cooper sought to avoid the

  arbitration clause and forum-selection clause in the written Agreement he had prepared. He made


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  a specious claim to the California State Bar that Defendants Blum and Collins had violated State

  Bar ethical rules. Plaintiff Cooper argued throughout the lawsuits and arbitration to date that he

  believed (erroneously) that Collins and Blum had violated an ethical rule, that the Agreement

  which the parties had signed was “illegal” and unenforceable as a result, and that Cooper would

  be relieved from the arbitration clause and forum-selection clauses in the Agreement he had

  drafted and signed. The State Bar conducted an inquiry and found no violation, and on April 15,

  2021, the State Bar closed its investigation taking no action. Decl. Blum, ¶ 17.

         Plaintiff Cooper’s second bite at the apple: A few days later, on April 26, 2021,

  Plaintiff Cooper filed suit in California state court against Defendant Blum Collins contending

  that the Agreement which he had prepared, and the parties had signed was “…not legally valid,

  binding or enforceable…” Decl. Blum, Exh. G at 2, ¶ 6. Plaintiff Cooper sought declaratory and

  injunctive relief to block the arbitration from continuing.

         In his California state court lawsuit, Plaintiff Cooper aggressively asserted his claims that

  the arbitration clause was invalid. He asserted his facts and law in three ex parte applications, on

  April 28, 2021, June 21, 2021, September 9, 2021; two motions to stay arbitration, on June 1,

  2021, September 9, 2021; and after he lost those, in two similarly unsuccessful motions for

  reconsideration, on June 21, 2021 and October 12, 2021. Decl. Blum, ¶ 31.

         Defendant Blum Collins moved in Los Angeles County Superior Court to compel Cooper

  to submit to arbitration on August 20, 2021. See Decl. Blum, ¶ 32 & Exh. G at 21-36. Cooper

  opposed the motion. The Court rejected Plaintiff Cooper’s various arguments that the Agreement

  containing the arbitration clause was void for fraud, etc. The Court noted that “…Plaintiff

  [Cooper] voluntarily submitted to arbitration, and proceeded to court after the arbitrator had

  already issued substantive rulings that did not favor Plaintiff [Cooper].” Decl. Blum, Exh. G at

  30 (Ruling at 10). The Court granted Defendant Blum Collins’ motion to compel arbitration, and

  entered judgment against Plaintiff Cooper. Decl. Blum, Exh. G at 33-36. In its Ruling, the Court

  held: “The court orders plaintiff Erik Cooper dba Acuity Consulting Services and defendant

  Blum Collins LLP to arbitrate their pending controversy.” Decl. Blum, Exh. G at 31 (Ruling at


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  11). This order is now final and unappealable. Decl. Blum, ¶ 31. This order still stands. In other

  words, Cooper is still subject to a valid, final order of a court of competent jurisdiction that he

  must arbitrate his disputes. His only choice now is to arbitrate his disputes. Instead of appealing

  that final order, Plaintiff Cooper filed this Tennessee federal court action to attack the final

  judgment from another jurisdiction.

         Plaintiff Cooper’s third bite at the apple: Throughout the arbitration, Plaintiff Cooper

  argued several times he wasn’t obligated to arbitrate because he believed the Agreement between

  the parties which contained the arbitration clause was invalid. The arbitrator repeatedly heard,

  considered, and rejected these arguments. Decl. Blum, ¶ 18.

         Plaintiff Cooper filed a counterclaim in the arbitration seeking the same $700,000+ that

  he seeks here. Defendants successfully moved to dismiss his counterclaim. Decl. Blum, ¶¶ 22,

  23 & Exhs. E, F. The arbitration between these parties concluded and the arbitrator issued a final

  award on December 28, 2021. Cooper did not challenge the validity of the final award in court.

                 D. Plaintiff’s Complaint in Tennessee

         Dissatisfied with the ruling obtained in the arbitration and the ruling dismissing his

  California state court action, Cooper seeks another bite at the apple. On April 11, 2022, he filed

  the present action in Tennessee. Cooper attempts in this case to allege that he is a resident of

  Tennessee, not California, even though just one week after filing this suit (on April 18, 2022)

  Plaintiff Cooper filed multiple declarations under oath in California litigation swearing he is a

  resident of Los Angeles County. See Doc. 6-1, Page ID #62, ¶ 2, Decl. Blum, Exh. F.

         III.    PLAINTIFF CANNOT ESTABLISH IN PERSONAM JURISDICTION
                 UNDER FED. R. CIV. P. 12(b)(2)

                 A. Standard of Review

         The U.S. Supreme Court has made clear that “the plaintiff cannot be the only link

  between the defendant and the forum.” Walden v. Fiore, 571 U.S. 277, 285 (2014). The burden

  of establishing personal jurisdiction over Defendants falls on the Plaintiff. Third Nat'l Bank v.



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  WEDGE Group Inc., 882 F.2d 1087, 1089 (6th Cir. 1989), cert. denied, 493 U.S. 1058 (1990);

  Wiggins v. Jedson Eng'g, Inc., No. 1:19-CV-00354-DCLC-CHS, 2020 U.S. Dist. LEXIS 225773,

  at *3 (E.D. Tenn. July 6, 2020).

         “Personal jurisdiction … is an essential element of the jurisdiction of a district court,

  without which the court is powerless to proceed to an adjudication.” Ruhrgas AG v. Marathon

  Oil Co., 526 U.S. 574, 584 (1999). Whether this Court has personal jurisdiction over the

  Defendants is a question of law under the due process clause of the U.S. Constitution subject to

  de novo review by the Sixth Circuit. Bridgeport Music, Inc. v. Still N the Water Publ’g, 327 F.3d

  472, 477 (6th Cir. 2003). To determine if jurisdiction exists, consistent with the U.S. Supreme

  Court’s established “traditional conception of fair play and substantial justice,” see International

  Shoe Co. v. Washington, 326 U.S. 310, 320 (1945), this Court is to analyze whether a defendant

  “‘is amenable to service of process under the forum state’s long-arm statute”” and whether the

  exercise of jurisdiction “‘would not deny the defendants due process.’” Id., quoting Bird v.

  Parsons, 289 F.3d 865, 871 (6th Cir. 2002). In Tennessee, where the state’s long-arm statute has

  been interpreted as reaching to the limits of the due process clause, “the two inquiries are

  merged.” Bridgeport Music, Inc., 327 F.3d at 477, citing Nationwide Mut. Ins. Co. v. Tryg Int’l

  Ins. Co., Ltd., 91 F.3d 790, 793 (6th Cir. 1996).

         When, in response to a pleading, defendants move to dismiss for lack of personal

  jurisdiction supported by affidavits, the plaintiff cannot simply rely upon his complaint but must

  by affidavit or otherwise set forth specific facts showing that the court has jurisdiction.

  Theunissen v. Matthews, 935 F.2d 1354, 1358 (6th Cir. 1991). Since Defendants have filed

  affidavits and other evidence here, Plaintiff Cooper must offer competent evidence.

         Personal jurisdiction can be general or specific. General jurisdiction exists when a

  defendant’s contacts with the jurisdiction are of such a “‘continuous and systematic’ nature” that

  the court may exercise jurisdiction over the defendant even for unrelated conduct. Third Nat’l

  Bank v. WEDGE Group, Inc., supra, 882 F.2d at 1089, citing Perkins v. Benguet Consol. Mining

  Co., 342 U.S. 437 (1952). When the defendant is an individual, “the paradigm forum for the


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  exercise of general jurisdiction is the individual’s domicile[.]” Goodyear Dunlop Tires

  Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011). Defendants Blum and Collins have never

  lived or worked in Tennessee. Defendants have never done business in Tennessee. Defendants

  do not own material assets in Tennessee. Defendants do not have continuous and systematic

  contacts with Tennessee. Defendant Blum Collins LLP is a Los Angeles-basesd law firm that

  does not conduct business or own assets in Tennessee, and never has.

         Plaintiff has not provided evidence that Defendants’ contacts with Tennessee are

  “continuous and systematic,” and he could not do so as Defendants reside and do business in

  California as members of the California Bar representing California residents and entities–

  usually, as in this case, regarding California real estate matters– in California state and federal

  court.5 The Court cannot exercise general jurisdiction over the Defendants.
                 B. There Is No Specific Jurisdiction Over Defendants

         1. Defendants did not “purposefully avail” themselves of the privilege of acting in
            Tennessee.
         The Court also lacks specific personal jurisdiction because Defendants did not

  purposefully direct any alleged conduct toward Tennessee. The Sixth Circuit’s test for specific

  jurisdiction comporting with due process was set forth in S. Machine Co. v. Mohasco Indus.,

  Inc., 401 F.2d 374, 381 (6th Cir. 1968):

         First, the defendant must purposefully avail himself of the privilege of acting in
         the forum state or causing a consequence in the forum state. Second, the cause of
         action must arise from the defendant's activities there. Finally, the acts of the
         defendant or consequences caused by the defendant must have a substantial
         enough connection with the forum state to make the exercise of jurisdiction over
         the defendant reasonable.

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          While Blum Collins maintains a website, it is not “interactive to a degree that reveals
  specifically intended interaction with the residents of the state.” Neogen Corp. v. Neo Gen
  Screening, Inc., 282 F.3d 883, 890 (6th Cir. 2002); see also Bird v. Parsons, supra, 289 F.3d at
  874-875 (finding that website which invited Ohio residents to register their domain names with it
  to be a basis for jurisdiction). Rather, Blum Collins’ website is not interactive at all, and does
  not even have a “Contact Us” webform. Decl. Blum, ¶ 33. “[M]aintain[ing] a website that is
  accessible to anyone over the Internet is insufficient to justify general jurisdiction.” Bird v.
  Parsons, 289 F.3d at 874; see also Hilani v. Greek Orthodox Archdiocese of Am., 863 F. Supp.
  2d 711, 722 n. 37 (W.D. Tenn. 2012) (same).


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   As developed further below, none of the three Defendants meet these three prongs.

          None of the Defendants “purposefully availed [themselves] of the privilege of acting in

   the forum state or causing a consequence in the forum state.” Specifically, when they tentatively

   hired Plaintiff to perform marketing services for them in California, they did so for a California

   state court action based on his presence in California (and his advertisement of a Beverly Hills,

   California office) so he could market Blum Collins’ services to California residents. None of

   this had anything to do with Tennessee.

          “Purposeful availment is something akin to a deliberate undertaking to do or
          cause an act or thing to be done in [the forum state] or conduct which can be
          properly regarded as a prime generating cause of the effects resulting in [the
          forum state], something more than a passive availment of [the forum state's]
          opportunities.” Neogen Corp. v. Neo Gen Screening, Inc., [supra,] 282 F.3d 883,
          891 (6th Cir. 2002) (internal citation and quotation omitted). “The 'purposeful
          availment' requirement is satisfied when the defendant's contacts with the forum
          state 'proximately result from actions by the defendant himself that create a
          ‘substantial connection with the forum State,’ and when the defendant's conduct
          and connection with the forum are such that he ‘should reasonably anticipate
          being haled into court there.’” Compuserve, Inc.v. Patterson, 89 F.3d 1257, 1263
          (6th Cir. 1996) (quoting Burger King [Corp. v. Rudcewicz,] 471 U.S. [462,] at
          474-75 [(1985)]). The “‘purposeful availment’ requirement ensures that a
          defendant will not be haled into a jurisdiction solely as a result of ‘random,’
          ‘fortuitous,’ or ‘attenuated’ contacts, or of the ‘unilateral activity of another party
          or a third person.’” Burger King, 471 U.S. at 475 (internal citation omitted); see
          also Lak, Inc. v. Deer Creek Enters., 885 F.2d 1293, 1300 (6th Cir. 1989). The
          emphasis in the purposeful availment inquiry is whether the defendant has
          engaged in "some overt actions connecting the defendant with the forum state."
          Dean v. Motel 6 Operating L.P., 134 F.3d 1269, 1274 (6th Cir. 1998).
   Bridgeport Music, Inc., supra, 327 F.3d at 478-479.

          Plaintiff baldly alleges that “the agreement breached by the Defendants was made and

   entered into in Sevier County, Tennessee, and the Plaintiffs’ [sic] damages occurred in Sevier

   County, Tennessee” Complaint, ¶ 25, but there is no evidence that the Agreement was entered

   into in Tennessee. Plaintiff signed the Agreement first and sent it to Defendants. Defendants

   signed it in Los Angeles. Decl. Blum, Decl. Collins, ¶ 13. The agreement was formed when

   Defendants signed it in Los Angeles. The Agreement provides it is governed by California law.

   Under California law, a contract is made where the offer is accepted – in this case, Los Angeles,




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   California. See Commercial Cas. Ins. Co. v. Indus. Accident Comm’n, 242 P.2d 13, 18 (Cal.

   App. 1952).

          The U.S. Supreme Court has held that merely entering into a contract with a forum

   resident is insufficient to establish minimum contacts in that forum. See Burger King, supra, 471

   U.S. at 478 (“If the question is whether an individual's contract with an out-of-state

   party alone can automatically establish sufficient minimum contacts in the other party's home

   forum, we believe the answer clearly is that it cannot”) (emphasis in original); and see Calphalon

   Corp. v. Rowlette, 228 F.3d 718, 722 (6th Cir. 2000) (“We think the district court correctly

   recognized that the mere existence of a contract between Rowlette and an Ohio citizen for

   seventeen months is insufficient to confer personal jurisdiction over Rowlette”). The fact that

   Cooper may have sometimes resided in Tennessee, even if known to the Defendants, was “purely

   fortuitous.” See Noval Int’l. Res., LLC v. Andec, Inc., 875 F. Supp. 2d 804, 811 (W.D. Tenn.

   2012) (refusing to find Tennessee district court jurisdiction even where defendants traveled to

   Tennessee to negotiate the contract at issue). Given that Plaintiff advertised a California office,

   responded to Defendants’ calls solely on his Los Angeles telephone number, and was engaged

   for marketing solely to California residents in connection with a California state case related to a

   California fire, Decl. Blum, ¶¶ 11, 14, 8-10, there is no reason consistent with “fair play and

   substantial justice” why Defendants would expect to be haled into court in Tennessee.

          A leading Sixth Circuit decision stands for the proposition that when a contract has a

   forum-selection clause and a choice-of-law clause both designating one forum, this combination

   of facts alone is sufficient to deprive other forums of jurisdiction. In Int'l Tech. Consultants, Inc.

   v. Euroglas, S.A., 107 F.3d 386, 393 (6th Cir. 1997) the Sixth Circuit concluded that the

   combined effect of forum selection clause and choice of law clause designating Swiss law and

   Berne, Switzerland as the forum was to deprive the Michigan district court of jurisdiction. This

   was true despite plaintiff’s receipt of payments in Michigan and performance of much of its

   work there, and even though the defendant directed telephone, letter and facsimile

   communications to the plaintiff in Michigan. 107 F.3d at 394. See also Miami Valley Fair


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   Hous. Ctr., Inc. v. Steiner & Assocs., No. 3:08-cv-150, 2012 U.S. Dist. LEXIS 164006, *20-*21

   (W.D. Ohio Nov. 16, 2012) (finding choice of law clause alone relevant in granting motion to

   dismiss for lack of personal jurisdiction), Noval Int’l Res. Inc. v. Andec, Inc., supra, 875 F. Supp.

   2d at 810 (finding out-of-forum choice of law provision relevant in denying jurisdiction).

          Here the parties chose California law to govern any disputes they had. They provided for

   the arbitration of those disputes in Los Angeles, California. The result should be the same as that

   dictated in the above cases. The Agreement by which the parties conducted themselves

   specifically stated that “This agreement is subject to the laws of the State of California,” see

   Decl. Blum, Decl. Collins, ¶ 11 & Exh. A (Addendum ¶ 5), and that “Any disputes arising out of

   this Agreement between the parties will be resolved through binding arbitration with the

   American Arbitration Association in Los Angeles County, California, using a single arbitrator.”

   Decl. Blum, Decl. Collins, Exh. A (Addendum ¶ 7). California, not Tennessee, has jurisdiction.

          Defendants were handling cases involving damage to California real estate as the result

   of a fire in California, Decl. Blum, ¶¶ 8, 9, 30. All of Plaintiff’s “services” were directed at

   California residents. Cooper’s unilateral choice to perform some of his services in Tennessee, if

   he did so, are insufficient to create jurisdiction over Defendants in Tennessee:

          The “‘purposeful availment’ requirement ensures that a defendant will not be
          haled into a jurisdiction solely as a result of ‘random,’ ‘fortuitous,’ or ‘attenuated’
          contacts, or of the ‘unilateral activity of another party or a third person.’”
   Bridgeport Music, Inc., supra, 327 F.3d at 478, quoting Burger King, supra, 471 U.S. at 475,

   and citing Lak Inc. v. Deer Creek Enters., supra, 885 F.2d at 1300; see also Dean v. Motel 6

   Operating L.P., supra, 134 F.3d at 1273 (same), Walden v. Fiore, 571 U.S. 277, 286 (2014) (“To

   be sure, a defendant’s contacts with the forum State may be intertwined with his transactions or

   interactions with the plaintiff or other parties. But a defendant’s relationship with a plaintiff or

   third party, standing alone, is an insufficient basis for jurisdiction”); Hanson v. Denckla, 375

   U.S. 235, 253 (1958), citing International Shoe Co. v. Washington, supra, 326 U.S. at 319. Any

   conduct of Plaintiff in working from Tennessee was “unilateral,” and entirely irrelevant to the

   purposes for which Defendants considered engaging the Plaintiff.


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           Plaintiff is required to counter Defendants’ affidavits with an affidavit or other evidence

   supporting his allegations, Malone v. Stanley Black & Decker, Inc., 969 F.3d 499, 504 (6th Cir.

   2020); Parker v. Winwood, 938 F.3d 833, 849-850 (6th Cir. 2019). “Zoom” meetings or phone

   calls which the Plaintiff arranged from Tennessee for his own convenience would not create

   minimum contacts by Defendants. See Int’l Tech. Consultants, Inc., supra, 107 F.3d at 395

   (finding that even a physical meeting in the forum state did not provide a basis for jurisdiction

   when it occurred “as a ‘convenience’ to the plaintiff”); Miami Valley Fair Hous. Ctr., Inc. v.

   Steiner & Assocs., supra, No. 3:08-cv-150, 2012 U.S. Dist. LEXIS 164006, *20-*21 (W.D. Ohio

   Nov. 16, 2012) (more than one physical meeting with the defendants did not provide

   jurisdiction: In case involving jurisdiction over some third-party defendants, the district court

   wrote, “While an agent of a Third-Party Defendant occasionally visited Ohio, it was merely for

   the convenience of the Ohio entities, or to tour a model town center in Columbus, Ohio”);

   Walden v. Fiore, supra, 571 U.S. at 286 (“a defendant’s relationship with a plaintiff or third

   party, standing alone, is an insufficient basis for jurisdiction”).

           2. Defendants request an evidentiary hearing.
           Since Defendants have proffered affidavits with this Motion, Plaintiff must offer contrary

   evidence and cannot simply rest on the allegations of his Complaint, Malone v. Stanley Black &

   Decker, Inc., supra, 969 F.3d at 504; Parker v. Winwood, supra, 938 F.3d at 849-850 . Without

   waiving their special appearance, Defendants respectfully request that the Court hold a

   preliminary evidentiary hearing in which it weighs the evidence and in which the Plaintiff must

   demonstrate jurisdiction based on a preponderance of the evidence. John Welsh & Flo-Start,

   Inc. v. Gibbs, 631 F.2d 436, 439 (6th Cir. 1980). As the Federal Rules of Civil Procedure state,

   an evidentiary hearing on a motion does not require the presentation of live testimony, so long as

   a hearing is held. See Fed. R. Civ. P. 43(c); see also John Welsh & Flo-Start, supra, 631 F.3d at

   439; Malone, supra, 965 F.3d at 506 (“Rexon did not request a hearing and the court did not hold

   one”); and see Grayson v. Anderson, 816 F.3d 262, 268 (4th Cir. 2016) (“an ‘evidentiary




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   hearing’ does not automatically involve or require live testimony,” citing, inter alia, Bolt v. Gar-

   Tec Prods., Inc., 967 F.2d 671, 676 (1st Cir. 1992), Fed. R. Civ. P. 43(a), 43(c)).

          3. Plaintiff’s claims do not “arise from” Defendants’ supposed contacts with the
             state of Tennessee.
          The “arising from” prong of the Southern Machine test is satisfied “when the operative

   facts of the controversy arise from the defendant's contacts with the state.” Calphalon, supra,

   228 F.3d at 723. However, since there are no contacts between Defendants and Tennessee,

   Plaintiff’s claims cannot arise from those nonexistent contacts. See Dean v. Motel 6 Operating

   L.P., supra, 134 F.3d at 1275.

          4. Exercising jurisdiction over Defendants would not be “reasonable.”
          The final factor under Southern Machine is whether exercising jurisdiction over the

   defendants would be reasonable. However, where there is no “purposeful availment,” and the

   plaintiff’s injury does not “arise from” the defendants’ contacts, there can be no jurisdiction,

   whether it would be reasonable or not. See Dean v. Motel 6 Operating L.P., supra, 134 F.3d at

   1275. The Sixth Circuit has identified four considerations in addressing the reasonableness of

   the forum state asserting jurisdiction:

          (1) the burden on the defendant; (2) the interest of the forum state; (3) the
          plaintiff's interest in obtaining relief; and (4) other states' interest in securing the
          most efficient resolution of the controversy.
   Intera Corp. v. Henderson, 428 F.3d 605, 618 (6th Cir. 2005). These elements favor resolution

   of the present dispute in California, where it has been litigated and decided.

          First, the burden on these three California Defendants, who have no connections with

   Tennessee, from resolving a dispute over Plaintiff’s alleged services to Defendants in California

   in connection with a California lawsuit over California real estate would be substantial. Second,

   the interest of Tennessee in resolving a dispute about California on behalf of a dual California

   and Tennessee resident is minimal. Third, if Plaintiff has a viable interest in obtaining relief, he

   can do so in California. Fourth, California has a strong interest in assuring the integrity of its

   judicial and arbitral processes in this case in which Plaintiff has asserted a lien on judgments in



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   California state court. Further, Plaintiff’s Complaint admits that Defendants did not engage in

   any acts in Tennessee. Cf. Intera Corp., supra, 428 F.3d at 619.

          For these reasons, the Court lacks in personam jurisdiction over the Defendants, and

   Defendants deserve to have this case dismissed. As a separate and additional grounds for

   dismissing this case, the Court lacks subject-matter jurisdiction as well.

          IV.     PLAINTIFF’S COMPLAINT MUST BE DISMISSED FOR LACK OF
                  SUBJECT MATTER JURISDICTION UNDER FED. R. CIV. P. 12(b)(1)
          Plaintiff’s Complaint must also be dismissed if there is no subject-matter jurisdiction. To

   establish subject-matter jurisdiction, Plaintiff must prove diversity of citizenship and that the
   amount in controversy exceeds $75,000.

                  A. Plaintiff claims to be a Citizen of California.

          Plaintiff has filed his own sworn declaration in a California matter with this Court, which

   constitutes a judicial admission, swearing that he is a resident of the State of California. (Doc. 6-

   1, Page ID#62) (Hartford Fire Ins. Co. v. Cmc Constr. Co., No. 3:06-cv-011, 2012 U.S. Dist.

   LEXIS 204030, at *22 (E.D. Tenn. Jan. 30, 2012) ("formal admissions in the pleadings of a

   present action, [are those] 'which have the effect of withdrawing a fact from issue and dispensing

   wholly with the need for proof of the fact.'”). Helpfully, he even asked the Court to “take

   judicial notice of each of the documents exhibited hereto and that the Court consider these

   documents in all further proceedings in this action.” (Doc. 6, Page ID#58). 6
          Plaintiff has repeatedly filed pleadings in California state court cases, including affidavits

   under oath, claiming that he resides in California. He has filed these court documents both before

   and after he filed this Tennessee federal court case claiming that he resides in Tennessee. With

   regard to Tennessee, Cooper has described his residence there as “temporary.”




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         Plaintiff has also paradoxically filed a “Declaration of Erik Cooper” (Doc. 6-11,
   PageID#171 at ¶ 1) in which he declares that he is “a citizen and resident of the State of
   Tennessee.”


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    Date                             Document                          Exhibit
    4/26/2021                        “Cooper resides in …Los           Cooper’s California
                                     Angeles County, California.”      complaint in declaratory
                                     Cooper also listed his Beverly    relief case,
                                     Hills, California address at      Decl. Blum, ¶ 31 & Exh. G at
                                     the top of the complaint.         1 (caption, listing Cooper’s
                                                                       address as 312 S. Beverly
                                                                       Drive, #7195, Beverly Hills,
                                                                       California 90212).

    4/29/2021                        Cooper notifies the California Decl. Blum, ¶ 32 & Exh. H.
                                     court of a “temporary”
                                     change of mailing address to
                                     the Gatlinburg, Tennessee
                                     Post Office Box address he is
                                     using for this case in
                                     Tennessee
    4/11/2022                        Cooper filed this Tennessee
                                     federal court case.

    4/15/2022                        “I am a resident of …Los          Cooper’s Affidavit in The
                                     Angeles County,                   Woolsey Fire Cases, Case
                                     California[.]”                    No. JCCP 5000, Doc. 6-1,
                                                                       PageID 62, ¶ 2 (lines 9-10).
    4/18/2022                        “I am a resident of …Los          Cooper’s Affidavit in Perkins
                                     Angeles County,                   v. S. Cal. Edison, Decl. Blum,
                                     California[.]”                    ¶ 27, Exh F at 2, ¶ 2 (lines 9-
                                                                       10).
    4/18/2022                        “I am a resident of …Los          Cooper’s Affidavit in
                                     Angeles County,                   Saldamando v. S. Cal.
                                     California[.]”                    Edison, Decl. Blum, ¶ 27,
                                                                       Exh. F at 15, ¶ 2 (lines 9-10).


          The Sixth Circuit rule – duplicated in the rest of the country – is that citizenship is

   determined by domicile, and that “domicile consists of (1) residence and (2) an intent to remain

   there.” Mason v. Lockwood, Andrews & Newnam, P.C., 842 F.3d 383, 390 (6th Cir. 2016),

   citing Miss. Band of Choctaw Indians v. Holyfield, 490 U.S. 30, 48 (1989); see also Kaiser v.

   Loomis, 391 F.2d 1007, 1009 (6th Cir. 1968); Stifel v. Hopkins, 477 F.2d 1116, 1120 (6th Cir.

   1973); Von Dunser v. Aronoff, 915 F.2d 1071, 1072 (6th Cir. 1990).




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           During one of Mr. Cooper’s California cases, he filed a document titled “Plaintiff’s

   Notice of Temporary Change of Mailing Address” in which he indicated that his “Temporary”

   address was that which he is using as his address in this action – P.O. Box 1413, Gatlinburg, TN

   377. See Exh. H. The Tennessee address listed as Plaintiff’s “East Coast Office” on the

   agreement which gave rise to arbitration is “1216 East Parkway, #1413, Gatlinburg, Tennessee,

   37738.” A simple Google search reveals that this address is a United States Postal Service

   office; apparently Cooper has a P.O. Box there.

           It appears from his filings in California state court that Plaintiff Cooper is only

   temporarily in Tennessee and his address is a post office box. If Cooper actually resides in

   California as he swears under oath that he does, this means that diversity does not exist, and this

   Court lacks subject-matter jurisdiction.

                   B. Plaintiff Does Not Meet the Amount in Controversy Requirement
                      Because His Claims Herein Have Already Been Conclusively Decided
                      Against Him
           Plaintiff fails to meet the amount-in-controversy requirement because all of his claims are

   barred by res judicata. “If a claim of the required jurisdictional amount is apparently made in

   good faith, that claim controls unless it appears ‘to a legal certainty that the claim is really for

   less than the jurisdictional amount.’” Jones v. Knox Exploration Corp., 2 F.3d 181, 182 (6th Cir.

   1993), quoting St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938). Where

   evidence shows that the plaintiff’s claims as pled do not exceed $75,000 as required by 28

   U.S.C. § 1332(a), the court must dismiss the case for want of jurisdiction, even after it has been

   tried. Jones, 2 F.3d at 183, citing Jimenez Puig v. Avis Rent-A-Car System, 574 F.2d 37, 39 (1st

   Cir. 1978). Here, it is already clear that Plaintiff’s claims do not meet the jurisdictional amount.

   Although Plaintiff’s Complaint alleges claims to the tune of “$766,080 . . . for professional

   services rendered and $27,522.60 of expenses incurred,” Complaint, ¶ 14, both of those claims

   have been arbitrated in Los Angeles, California, and rejected. Decl. Blum, Exh. C is Cooper’s




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   Counterclaim in the arbitration. Decl. Blum, Exh. E is the arbitrator’s decision, including a

   denial of Cooper’s counterclaim; Decl. Blum, ¶¶ 22-23 & Exhs E, F.

          Cooper apparently mistakenly believes that the law allows him to repeatedly file the same

   claim in as many courts as often as he wishes. His claims are barred by res judicata.

          When the Defendants initiated arbitration with Cooper to establish that they owed him

   nothing, and after the California state court ruled in a judgment that is now final that Cooper

   must arbitrate his disputes with Defendants, Cooper’s counterclaim that he is owed over

   $700,000 was a compulsory counterclaim in the action filed by Defendants. Under California

   law (which by agreement of the parties governs this dispute and which is akin to Federal Rule of

   Civil Procedure 13), a compulsory counterclaim is a claim made by a defendant against a

   plaintiff that arises from the same transaction or occurrence as the plaintiff's claim. The claim is

   compulsory in that it must be asserted in the same action or it is waived. If defendant fails to

   assert his counterclaim in this action, he is precluded from asserting it against plaintiff even in

   an independent action. See Align Technology, Inc. v. Tran, 102 Cal. Rptr. 3d 343, 350-351

   (Cal. App. 2009):

          The compulsory cross-complaint statute [i.e., California Code of Civ. Proc.
          § 426.30] is designed to prevent “piecemeal litigation.” (Carroll v. Import
          Motors, Inc. (1995) 33 Cal.App.4th 1429, 1436 [39 Cal. Rptr. 2d 791].) In
          discussing the legislative purpose of former section 439, the predecessor of
          section 426.30, the Supreme Court explained that because “[t]he law abhors a
          multiplicity of actions … the obvious intent of the Legislature … was to provide
          for the settlement, in a single action, of all conflicting claims between the parties
          arising out of the same transaction. [Citation.] Thus, a party cannot by negligence
          or design withhold issues and litigate them in successive actions; he may not split
          his demands or defenses; he may not submit his case in piecemeal fashion.
          [Citation.]” (Flickinger v. Swedlow Engineering Co. (1955) 45 Cal.2d 388, 393
          [289 P.2d 214]; see also Clark v. Lesher (1956) 46 Cal.2d 874, 882 [299 P.2d
          865].) In furtherance of this intent of avoiding a multiplicity of actions, numerous
          cases have held that the compulsory cross-complaint statute—both section 426.30
          and its predecessor statute (former section 439)—must be liberally construed to
          effectuate its purpose. (citations omitted).
          In Align Technology, the Court of Appeal held that an employer had to have raised breach

   of contract and conversion of patent claims against an employee in response to the employee’s

   former counterclaim for wrongful termination in an earlier action.



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          The arbitrator issued a Final Award on December 28, 2021. Decl. Blum, Exh. E. When

   Cooper filed this Tennessee federal court case on April 11, 2022, his claims were already barred

   by his not having pursued those claims to a successful result in the arbitration.

          Defendant's cross-complaint is compulsory if the cause of action “arises out of the same

   transaction, occurrence, or series of transactions or occurrences as the cause of action … in

   [the] complaint.” Cal. Code of Civ. Pro. § 426.10(c) (emphasis supplied). If a defendant's cause

   of action against plaintiff is related to the subject matter of the complaint, it must be raised by

   cross-complaint; failure to plead it will bar defendant from asserting it in any later lawsuit.

   California Code of Civ. Proc. § 426.30; see AL Holding Co. v. O'Brien & Hicks, Inc. 89 Cal.

   Rptr. 2d 918, 920 (Cal. App. 1999).

          This is a “logical relationship” test. Causes of action arise out of the “same transaction or

   occurrence” if the factual or legal issues are logically related. They need not be identical. (This is

   similar to the federal rule). ZF Micro Devices, Inc. v. TAT Capital Partners, Ltd. 209 Cal. Rptr.

   3d 442, 452-453 (Cal. App. 2016); Heshejin v. Rostami 268 Cal. Rptr. 3d 836, 844 (Cal. App.

   2020) —“transaction is construed broadly; it is not confined to a single, isolated act or

   occurrence … but may embrace a series of acts or occurrences logically interrelated” (internal

   quotes omitted).

          In cases sounding in contract, the compulsory cross-complaint statute is not limited to the

   specific breach alleged in plaintiff's complaint. Rather, the statute's “spirit and intent” require

   that the entire contractual relationship be deemed included within the word “transaction.” See

   Align Technology., Inc. v. Tran, supra, 102 Cal. Rptr. 3d 343, 353.

          The compulsory counterclaim rule applies even in arbitration. A claim that arises out of

   the same transaction as set forth in the demand for arbitration should be raised as a counterclaim

   in the arbitration proceeding. If the respondent fails to do so, the arbitration award may be res

   judicata, barring assertion of that claim in later proceedings. See Int’l Ambassador Programs,

   Inc. v. Archexpo, 68 F.3d 337, 340, n. 2 (9th Cir. 1995) (citing Rest.2d Judgments § 22). Unless

   vacated or corrected by the court, a private arbitration award is normally entitled to res judicata


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   effect and collateral estoppel effect, thus barring relitigation of identical claims resolved in the

   arbitration proceeding. See Vandenberg v. Sup.Ct. (Centennial Ins. Co.) 88 Cal. Rptr. 2d 366,

   371, n. 2 (Cal. 1999); see also Gordon v. G.R.O.U.P., Inc. 56 Cal. Rptr. 2d 914, 922 (Cal. App.

   1996); and Baxter Int'l, Inc. v. Abbott Laboratories 315 F3d 829, 831 (7th Cir. 2003).

          The same rule applies where the defendant raised his claim as a cross-complaint in a prior

   action but voluntarily dismissed it before it was adjudicated. See Hill v. City of Clovis, 73 Cal.

   Rptr. 2d 638, 645 (Cal. App. 1998); Carroll v. Import Motors, Inc. 39 Cal, Rptr. 2d 791, 795

   (Cal. App. 1995). An arbitration award bars relitigation of the matters heard or that could have

   been heard in the arbitration proceeding. Thibodeau v. Crum 6 Cal. Rptr. 2d 27, 29 (Cal. App.

   1992); see Trollope v. Jeffries 128 CR 115, 120 (Cal. App. 1976); Lewis v. Circuit City Stores,

   Inc. 500 F3d 1140, 1147 (10th Cir. 2007). “Res judicata bars all grounds for recovery which

   could have been asserted, whether they were or not, in a prior suit between the same parties on

   the same cause of action.” Clark v. Bear Stearns & Co., Inc. 966 F2d 1318, 1320 (9th Cir. 1992).

          It is not necessary that a judgment have been entered confirming the award. An

   unconfirmed arbitration award “has the same force and effect as a contract in writing between

   the parties.” California Code of Civ. Proc. § 1287.6; Richard B. LeVine, Inc. v. Higashi, 32 Cal.

   Rptr. 3d 244, 254 (Cal. App. 2005).

          It is sufficient that the matter has been (or could have been) adjudicated by the arbitration

   tribunal that the parties had agreed would be the tribunal of last resort for their controversy.

   Thibodeau v. Crum, supra, 6 Cal. Rptr. 2d at 33; see Employers Ins. Co. of Wausau v.

   OneBeacon American Ins. Co. 744 F3d 25, 28 (1st Cir. 2014).

          Cooper’s claims arise from the same transaction or occurrence as the claims these

   Defendants asserted against Cooper in the arbitration proceeding. It was compulsory under

   California law for Cooper to have asserted his claims against these Defendants in the arbitration.

   Cooper’s one and only opportunity to assert those claims was in the now completed arbitration.

   His claims are dead. Since the arbitration is now closed, Cooper’s claims against these

   Defendants are barred by principles of res judicata.


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          Cooper holds a claim worth nothing because it is barred by res judicata, and thus Cooper

   cannot meet the amount-in-controversy requirement to be in federal court.

          V.      THIS CASE MAY BE DISMISSED BECAUSE OF IMPROPER VENUE
                  UNDER FED. R. CIV. P. 12(b)(3)
          Even putting aside the lack of personal jurisdiction and lack of subject-matter

   jurisdiction, the Defendants would nonetheless deserve an order dismissing this case based on

   improper venue under Fed. R. Civ. P. 12(b)(3). See Means v. U.S. Conf. of Catholic Bishops,

   836 F.3d 643, 648-649 (6th Cir. 2016) (clarifying that Rule 12(b)(3) contemplates a motion to

   dismiss for improper venue and that a motion to transfer is not a Rule 12 motion).

          In the present case, even if there is subject-matter jurisdiction, and even if there were

   something to litigate on the merits, all the evidence and witnesses in this proceeding are located

   in Los Angeles County, California – including, apparently, Mr. Cooper, who claims residence

   there. See Doc. 6-1, PageID # 62, ¶ 2; Decl. Blum, ¶ 27 & Exh. F. In any event, under the

   general venue statute, 28 U.S.C. § 1391, venue for a civil action is appropriate in:

          (1) a judicial district in which any defendant resides, if all defendants are residents
          of the State in which the district is located;

          (2) a judicial district in which a substantial part of the events or omissions giving
          rise to the claim occurred, or a substantial part of property that is the subject of
          the action is situated; or

          (3) if there is no district in which an action may otherwise be brought as provided
          in this section, any judicial district in which any defendant is subject to the court’s
          personal jurisdiction with respect to such action.
   28 U.S.C. § 1391(b). Not one subsection places venue in Tennessee. None of the Defendants

   reside here. A substantial part of the events did not occur here. No property is the subject of the

   action here. There is no personal jurisdiction over Defendants in this judicial district. Therefore,

   there is no venue in this district either, and the Court should dismiss the action. See 28 U.S.C. §

   1406(a). The action should be dismissed for improper venue.




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          VI.     THE ALLEGED SERVICE OF PROCESS WAS INSUFFICIENT

          In order to preserve its Rule 12(b)(5) defense, Defendants expressly plead insufficient

   service of process. Plaintiff filed a “Notice of Service of Process Upon All Defendants” (Docs.

   7-1, 7-2, and 7-3) which is neither an affidavit nor proof of completed service. The unsworn

   statement purports to establish only that an attempted mailing occurred on a “John Doe”

   employee of Blum Collins LLP. The mailing was not by registered or certified mail and

   therefore insufficient under Tennessee law. The unsworn statement also fails to include any of

   the required information set forth in § 415.30 and § 417.10 of the California Code of Civil

   Procedure. See Cunningham v. Enagic USA, Inc., No. 3:15-0847, 2019 U.S. Dist. LEXIS 34013,

   at *11-12 (M.D. Tenn. Feb. 15, 2019).

          VII.    CONCLUSION

          A dismissal with prejudice is appropriate when a complaint fails to state a claim under

   Rule 12(b) and granting leave to amend would be futile. That is the case here. Plaintiff’s

   Complaint should be dismissed for lack of personal jurisdiction because Defendants have no

   minimum contacts with Tennessee. The Court should conduct an evidentiary hearing on the

   materials submitted by Defendants and such evidence as submitted by Plaintiff, if any, so the

   Court may conclusively determine that in personam jurisdiction is lacking. Plaintiff’s Complaint

   should be dismissed for lack of subject matter jurisdiction because (1) Cooper has proclaimed

   repeatedly that he is a citizen of California as are Defendants so there is no diversity, and (2)

   Plaintiff fails to meet the amount-in-controversy requirement. Either one of these facts is

   sufficient to demonstrate a lack of subject-matter jurisdiction. In the alternative, the Court should

   dismiss the case for improper venue.




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               Respectfully submitted, this the 23rd day of May 2022.


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                                   CERTIFICATE OF SERVICE

           I certify that on the 23rd day of May 2022 the foregoing Memorandum of Law in Support
   of Motion to Dismiss of Defendants was filed electronically. Notice of this filing will be sent by
   operation of the Court’s electronic filing system to all parties indicated on the electronic filing
   receipt. Parties may access this filing through the Court’s electronic filing system. The Plaintiff
   will be served by regular United States mail at the address indicated below.

                                              Erik Cooper
                                         Post Office Box 1413
                                     Gatlinburg, Tennessee 37738


                                                /s/ Daniel C. Headrick
                                                Daniel C. Headrick




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